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United States District Court
WESTERN DISTRICT OF TENNESSEE
Eastern Division

 

JAMES ANDERS JUDGMENT lN A ClVlL CASE

V.

CARROLL COUNTY COURTS CASE NUl\/|BER: 04-'| 319-T/An

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered

lT |S ORDERED AND ADJUDGED that in compliance with the order entered in
the above-styled matter on 06/30/05, this case is hereby DlS|\/l|SSED for failure to state
a claim upon which relief may be granted and because it presents claims which are
devoid ofjurisdiction. lt is further CERT|F|ED that, pursuant to 28 U.S.C. § 1915(a)(3),
any appeal by plaintiff is not taken in good faith and the plaintiff may not proceed on
appeal in forma pauperisl lf plaintiff wishes to take advantage of the installment
procedures for paying the appellate filing fee, he must comply with the procedures set
out in McGore v. Widd|esworth. 114 F.3d 601, 610-11 (Bth Cir. 1997) and 28 U.S.C. §
1915(b)._

APPROVED:

QQA/MMA. M

JA S D. TODD
UN ED STATES DISTRICT JUDGE

THOMAS M, GOULD

 

 

cLERK
'|_H`§l[)€ BY; C;)PM
DATE l ' DEPUTY cLERK

This document entered on the docket sheet in compliance

Wiin mile 58 and/or 79{3) FRcP on 01 '05 'O§ _ @

   

UNIED` sATTEs DITRICT OURT- WETENDISTCRIT oF 'NN'ESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 1:04-CV-013]9 Was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listed.

 

 

J ames Anders

Lois Deberry Special Needs Facility, Unit 4-A lOZ-D
#2863 12

7575 Cockrill Bend Industrial Rd.

Nashville, TN 37243

Honorable J ames Todd
US DISTRICT COURT

